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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA


  LARRY KLAYMAN,

                          Plaintiff

                 v.
                                                           Case Number: 1:19-cv-20544-JEM
  THOMAS J. FITTON

                         Defendant.




   PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO CONTINUE HEARING
                          SET FOR APRIL 16, 2019

         Plaintiff Larry Klayman advised counsel that he could not consent to a delay for the

  reasons set forth in the attached email, Exhibit 1, but that if it could be confirmed that the

  honorable Magistrate Judge was able to hear the motion to dismiss on April 22, 2019, not as now

  represented a date after April 22, 2019, and his schedule permitted, he would accommodate

  counsel. In any event, Florida counsel could attend the hearing, as the matter has already been

  well briefed by both parties.

         Time is respectfully of the essence to move this case forward as the alleged defamatory

  conduct is continuing by Defendant Thomas J Fitton and the severe damage caused is being

  compounded.


  Dated: April 4, 2019                                      Respectfully Submitted,

                                                               /s/ Larry Klayman
                                                            Larry Klayman, Esq.
                                                            FL Bar No. 246220
                                                            KLAYMAN LAW GROUP, P.A.
                                                            c/o 2020 Pennsylvania Ave., N.W.
                                                            Suite 800


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                                      CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was filed electronically and

  served through the court’s ECF system to all counsel of record or parties on April 4, 2019.


                                                           /s/ Larry Klayman




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